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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

JANE DOE,

                   Plaintiff,                          4:21-CV-3049

      vs.
                                              MEMORANDUM AND ORDER
BOARD OF REGENTS OF THE
UNIVERSITY OF NEBRASKA, et al.,

                   Defendants.


      This matter is before the Court on the defendants' motion to dismiss
(filing 18) the plaintiff, Jane Doe's, second amended complaint (filing 13)
pursuant to Fed. R. Civ. P. 12(b)(1) and (6). That motion will be granted in part
and denied in part.


                                I. BACKGROUND
      According to Doe's second amended complaint, her claims arose as
follows. Filing 13. Doe immigrated to the United States with her husband to
pursue her PhD, and in May of 2014 she started a doctoral engineering
program with the University of Nebraska-Lincoln (UNL). Filing 13 at 7.
Although she considered joining multiple departments within the program,
Doe ultimately enrolled in the Department of Mechanical and Materials
Engineering after a professor in the department, John Roe, offered her a
research assistant position. Filing 13 at 7. In this position, Roe would serve as
Doe's advisor, and the faculty would fund her research. Filing 13 at 7.
      Doe alleges that Roe began sexually harassing her in December 2014.
Filing 13 at 8. Despite her efforts to maintain a professional relationship with
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Roe, Doe alleges that she continued to endure the following harassment before
reporting Roe's conduct to the university:
    • December 13, 2014: Roe kissed Doe on the lips in his office.
    • Summer 2015: Roe tried to hug Doe, told Doe he loved her, and
       kicked her legs between twenty and thirty times.
    • December 2014 to June 2016: Roe sent Doe multiple unsolicited
       texts and emails of a sexual nature.
       And after Doe refused these advances, Roe allegedly demoted her from
first author on a research paper and prevented her from applying for or
accepting certain internship opportunities. Filing 13 at 8. On or about June 21,
2016, Doe met with UNL's Office of Institutional Equity and Compliance
(OIEC) to report Roe's sexual harassment and retaliation. Filing 13 at 8. After
conducting an investigation, the OIEC sent Doe a letter, signed by UNL's Title
IX investigator Tamiko (Tami) Strickman, concluding that Roe violated UNL's
sexual harassment policy. Filing 1-11 at 1.
       In this letter, Strickman noted that the OIEC's decision was based on
the following evidence: (1) Roe was Doe's advisor and had a supervisory,
evaluative role over her at the time of his harassing behavior; (2) Roe did not
dispute that he kissed Doe on the lips in his office; (3) according to electronic
messaging records, Roe had told Doe that he wanted to kiss her on multiple
occasions; and (4) Roe did not dispute that he sent Doe a link to a romantic
movie.1 Filing 1-11 at 1-2. At the outset of the investigation, Doe was assigned



1 In reaching its determination, the OIEC also concluded that the following accusations were


not shown by the greater weight of the evidence: (1) Roe had kicked Doe in a forceful or
harassing manner; (2) Roe told Doe he loved her; and (3) Roe's decision to move Doe from first
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a new supervisor. Filing 1-11 at 2. Later, pursuant to the above findings, the
OIEC issued a no-contact directive against Roe and agreed that the graduate
school would cover tuition and fees for the remaining six credits Doe needed to
complete a master's degree. Filing 1-11 at 2; filing 13 at 9-10.
       After the investigation, Doe was forced to continue seeing Roe on campus
from November 2016 to March 2017 because her office and the labs in which
she worked were located in the Mechanical Engineering Department. Filing 14
at 9. And despite the no-contact order, Doe alleges that Roe would say hello,
stare, smile, and sneer at her when he saw her. Filing 13 at 9. On March 7,
2017, Doe again reported Roe's actions to the OIEC in an email to Strickman.
Filing 13 at 9; filing 1-19. Doe noted that she felt "really disturbed and unsafe,"
and was reporting the incident to "ask for . . . help." Filing 1-19. Strickman
responded to this report the same day with a one-line email: "Would you like
to go over additional safety planning with [a member of the UNL police force]?"
Filing 1-20; filing 13 at 9. Strickman also allegedly told Doe that "she would
talk to Roe." Filing 13 at 9.
       According to Doe, this was the extent of the response she received to her
March 7 report—neither Strickman nor Fischer ever followed up with her,
confirmed that they spoke with Roe, or launched a Title IX or police
investigation despite Roe's continued harassment and violation of the no-
contact directive. Filing 13 at 10. And Doe claims that after this report, Roe
continued to stare and say hello to her in the hallway and at university events,
causing her "significant fear and anxiety." Filing 13 at 10. In the summer of



to second author was retaliatory based on her rejection of his sexual advances, as the evidence
showed his decision was based on "subpar work product." Filing 1-11 at 2.
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2017, Doe made the decision to leave UNL "due to UNL's failure to protect her
from Roe's continued harassment and stalking." Filing 13 at 10.
      Additionally, Doe claims she was subjected to harassment and
retaliation even after she began a PhD program at a new academic institution.
Filing 13 at 10. First, Strickman requested that Doe sign documents allowing
Roe to apply for a patent with the paper on which she claimed she had been
retaliatorily demoted. Filing 13 at 10; filing 1-21. And, on September 25, 2017,
Roe allegedly violated the no-contact directive by copying Doe on an email in
which he was following up on the patent. Filing 13 at 10; filing 1-22; filing 1-
23. Doe contacted Strickman on both September 27 and 28 to report Roe's
communication, but she never received a response. Filing 13 at 11; filing 1-23;
filing 1-24. According to Doe, no Title IX or police investigation was initiated
based on this report. Filing 13 at 11.
      On March 14, 2018, Doe contacted Strickman to report that the student
who Roe promoted to first author in Doe's place was making false statements
about her. Filing 13 at 11; filing 1-25. In addition to emphasizing how the
student's false statements were damaging her professional reputation, Doe
also outlined the shortcomings of the OIEC's response to her reports,
demanded an apology, and requested information pertinent to her case that
would allow her to clear her reputation. Filing 1-25. Strickman replied the
same day stating that her office had investigated and closed the matter
involving Doe and Roe. Filing 1-25. According to Doe, UNL did not initiate any
investigations based on this report. Filing 13 at 12. Unsatisfied with this
response, Doe wrote to UNL Chancellor Ronnie Green on May 20, 2019,
describing the harassment she experienced and "UNL's indifference to her



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plight." Filing 13 at 12; filing 1-26. Doe never received a response to this letter.
Filing 13 at 12.
      According to Doe, she has suffered financially and emotionally as a result
of Roe's harassment, as she did not perform well academically when she was
under Roe's control, was required to transfer to a new PhD program, developed
joint pain from stress that required physical therapy, and experienced strains
in her marriage. Filing 13 at 12-13. Doe has now sued the Board of Regents of
the University of Nebraska, Tamiko Strickman and John Roe (in both their
official and individual capacities), and other unidentified individuals. Filing 13
at 1. Doe's first two claims, specifically against the Board, are for violations of
Title IX based on its alleged deliberate indifference to sex discrimination and
retaliation. Filing 13 at 13-16. Doe also brought § 1983 claims against all of
the defendants, arguing that their actions violated the Due Process and Equal
Protection Clauses of the Fourteenth Amendment to the U.S. Constitution.
Filing 13 at 16-19. The Board and Tamiko (referred to collectively in this Order
as "defendants") moved to dismiss Doe's claims under Fed. R. Civ. P. 12(b)(1)
and (6).


                          II. STANDARD OF REVIEW
      A complaint must set forth a short and plain statement of the claim
showing that the pleader is entitled to relief. Fed. R. Civ. P. 8(a)(2). This
standard does not require detailed factual allegations, but it demands more
than an unadorned accusation. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The
complaint need not contain detailed factual allegations, but must provide more
than labels and conclusions; and a formulaic recitation of the elements of a
cause of action will not suffice. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
(2007). For the purposes of a motion to dismiss a court must take all of the
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factual allegations in the complaint as true, but is not bound to accept as true
a legal conclusion couched as a factual allegation. Id.
      And to survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a
complaint must also contain sufficient factual matter, accepted as true, to state
a claim for relief that is plausible on its face. Iqbal, 556 U.S. at 678. A claim
has facial plausibility when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for the
misconduct alleged. Id. Where the well-pleaded facts do not permit the court
to infer more than the mere possibility of misconduct, the complaint has
alleged—but has not shown—that the pleader is entitled to relief. Id. at 679.
      Determining whether a complaint states a plausible claim for relief will
require the reviewing court to draw on its judicial experience and common
sense. Id. The facts alleged must raise a reasonable expectation that discovery
will reveal evidence to substantiate the necessary elements of the plaintiff’s
claim. See Twombly, 550 U.S. at 545. The court must assume the truth of the
plaintiff’s factual allegations, and a well-pleaded complaint may proceed, even
if it strikes a savvy judge that actual proof of those facts is improbable, and
that recovery is very remote and unlikely. Id. at 556.
      When deciding a motion to dismiss under Rule 12(b)(6), the Court is
normally limited to considering the facts alleged in the complaint. If the Court
considers matters outside the pleadings, the motion to dismiss must be
converted to one for summary judgment. Fed. R. Civ. P. 12(d). However, the
Court may consider exhibits attached to the complaint and materials that are
necessarily embraced by the pleadings without converting the motion. Mattes
v. ABC Plastics, Inc., 323 F.3d 695, 697 n.4 (8th Cir. 2003). Documents
necessarily embraced by the pleadings include those whose contents are

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alleged in a complaint and whose authenticity no party questions, but which
are not physically attached to the pleading. Ashanti v. City of Golden Valley,
666 F.3d 1148, 1151 (8th Cir. 2012). The Court may also take notice of public
records. Levy v. Ohl, 477 F.3d 988, 991 (8th Cir. 2007).


                               III. DISCUSSION
                                  1. TITLE IX
      Doe's first two claims in her second amended complaint allege that the
Board violated Title IX through both its deliberate indifference to Roe's
continued sexual harassment and by retaliating against her for reporting Roe's
harassment. Filing 13 at 13-16. The Board alleges, in part, that Doe has failed
to state a claim under Title IX, and therefore, both claims should be dismissed.
Filing 19 at 12-16.


                          (a) Deliberate Indifference
      First, Doe alleges that, despite the defendants' actual knowledge of Roe's
previous sexual harassment, they were deliberately indifferent to her March
7, 2017 report, which led to her experiencing further sexual harassment by
Roe. Filing 13 at 14-15. Title IX prohibits educational institutions that receive
federal funds—the "grant recipient"—from discriminating on the basis of sex,
and, under this statute, sex discrimination includes sexual harassment. Du
Bois v. Bd. of Regents of the Univ. of Minn., 987 F.3d 1199, 1202-03 (8th Cir.
2021). Where a plaintiff's claim is based on sexual harassment of a student by
a teacher, the educational institution may be liable if "an official of the grant
recipient with authority to address harassment complaints had actual notice
of the teacher's alleged misconduct, and the official's inadequate response
amounted to deliberate indifference to the discrimination." KD v. Douglas
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Cnty. Sch. Dist. No. 001, 1 F.4th 591, 597-98 (8th Cir. 2021) (citing Cox v. Sugg,
484 F.3d 1062, 1067 (8th Cir. 2007)).
      Actual notice may be established where it is shown that an official of the
grant recipient with authority to address harassment complaints had prior
knowledge of harassment previously committed by the same perpetrator. K.T.
v. Culver-Stockton Coll., 865 F.3d 1054, 1058 (8th Cir. 2017). And once a grant
recipient has actual notice of sexual harassment, it may be deliberately
indifferent if the "response to the harassment or lack thereof is clearly
unreasonable in light of the known circumstances." Maher v. Iowa State Univ.,
915 F.3d 1210, 1213 (8th Cir. 2019) (citing Davis v. Monroe Cnty. Bd. of Educ.,
526 U.S. 629, 648 (1999)). Such deliberate indifference must, at a minimum,
directly cause the plaintiff to undergo harassment or make them vulnerable to
it. K.T., 865 F.3d at 1057; Ostrander v. Duggan, 341 F.3d 745, 750 (8th Cir.
2003).
      At this stage, taking all Doe's factual allegations as true, she has
sufficiently pled a Title IX deliberate indifference claim against the Board
based on her March 7, 2017 report to Strickman. First, it is undisputed that
Strickman had actual knowledge of Roe's previous sexual harassment of Doe
at the time of her March 7 report. In fact, the OIEC previously found, after an
investigation led by Strickman, that Roe violated UNL's sexual harassment
policy and had ordered Roe to cease all contact with Doe. See filing 19 at 5-6.
It is also undisputed that Strickman, in her role as an Investigator and Deputy
Title IX Coordinator at UNL during the relevant period, had authority to
address harassment complaints, meaning her actual knowledge is imputed to
the Board. See filing 13 at 6; filing 19 at 5-6.



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      Additionally, although Strickman responded to Doe's report the same
day, Doe has pled sufficient facts to reasonably infer, at this stage, that
Strickman's   response    was   unreasonable    given   the   severity   of     the
circumstances allegedly known to her at the time, and that this deliberate
indifference made Doe vulnerable to additional harassment. Specifically, Doe
alleges that Strickman's only responses to this report were a one-line email
asking if Doe would like to "go over additional safety planning," and a later
statement from Strickman that she would "talk to Roe." Filing 1-20; filing 13
at 9. According to Doe, Strickman did not launch an investigation into the
report, take steps to keep Roe from accessing Doe in the future, or follow up
with Doe about conversations had with Roe. Filing 13 at 9-10.
      In sum, besides an offer to talk about additional safety planning,
Strickman allegedly took no action when faced with reports that Roe was
violating a no-contact order and continually harassing a student whom he
had—according to Strickman's own investigation—made multiple unwanted
advances toward both on and off campus. And given that Doe has also alleged
that Strickman's response led to continued "harassment, stalking, and
violation of the no-contact directive" by Roe, see filing 13 at 10, Doe has
sufficiently pled a Title IX deliberate indifference claim against the Board.
      The defendants' argument to the contrary is premised on a disagreement
about the applicable legal standard: they argue that Doe cannot state a Title
IX deliberate indifference claim because she did not allege facts showing that
Roe's harassment was so "severe, pervasive, and objectively offensive" that it
had the systemic effect of denying the victim equal access to an educational
program or activity. Filing 19 at 13. However, the cases relied upon by the
defendants for this Title IX deliberate indifference standard involve incidents

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of student-on-student harassment. See, e.g., Davis, 526 U.S. at 650; K.T., 865
F.3d at 1056; Wolfe v. Fayetteville, Ark. Sch. Dist., 648 F.3d 860, 864 (8th Cir.
2011).2 And the Court is aware of no authority, nor have the defendants cited
to any authority, where the Eighth Circuit has applied this standard in a case
involving teacher-on-student harassment. Compare Shank v. Carleton Coll.,
993 F.3d 567, 573 (8th Cir. 2021) (applying the "severe, pervasive, and
objectively offensive" standard in a Title IX case involving student-on-student
harassment), and Pearson v. Logan Univ., 937 F.3d 1119, 1125 (8th Cir. 2019)
(same), with KD, 1 F.4th at 597-98 (stating that a plaintiff in a Title IX teacher-
on-student harassment case must show that an official of the grant recipient
was deliberately indifferent to known acts of discrimination that occurred
under its control); Podrebarac v. Minot State Univ., 835 F. App'x 163, 164 (8th
Cir. 2021) (same).
       And this conclusion aligns with the Supreme Court's analysis in Davis v.
Monroe Cnty. Bd. of Educ., 526 U.S. 629 (1999), which first applied the "severe,
pervasive, and objectively offensive" standard in a Title IX case involving
student-on-student harassment. In doing so, the Supreme Court noted how
this standard is necessary before imposing liability where schools may be
dealing with immature students who are "still learning how to interact



2 As for the Eighth Circuit case provided by the defendants which states that a necessary


element of a hostile environment sexual harassment claim under Title IX is that the
harassment was sufficiently severe or pervasive, see Lam v. Curators of the Univ. of Mo. at
Kan. City Dental Sch., 122 F.3d 654, 655 (8th Cir. 1997), the precedent relied on in that case
was later abrogated by the Supreme Court in Gebser v. Lago Vista Indep. Sch. Dist., which
clarified the standard for teacher-on-student Title IX claims and did not reference the severe,
pervasive, and objectively offensive standard. 524 U.S. 274 (1998).
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appropriately with their peers." Id. at 651-52; see also Sauls v. Pierce Cnty.
Sch. Dist., 399 F.3d 1279, 1284 (11th Cir. 2005); Wamer v. Univ. of Toledo, No.
20-cv-942, 2020 WL 6119419, at * 6-7 (N.D. Ohio Oct. 16, 2020).
      For these reasons, the Court rejects the defendants' argument that Roe's
conduct must have been "severe, pervasive and objectively offensive" for Doe
to state a Title IX deliberate indifference claim. Therefore, the defendants'
motion to dismiss Doe's Title IX deliberate indifference claim against the Board
for failure to state a claim is denied at this stage in the proceedings.


                                 (b) Retaliation
      Next, the Board argues that Doe has failed to state a Title IX retaliation
claim since she has presented no facts showing that the Board denied her any
benefits of an educational program or activity because of her March 7 report of
Roe's sexual harassment. Filing 19 at 16. Under Title IX, intentional
discrimination on the basis of sex includes when a "funding recipient retaliates
against a person because [she] complains of sex discrimination." Du Bois v. Bd.
of Regents of the Univ. of Minn., 987 F.3d 1199, 1203 (8th Cir. 2021). A
retaliation claim under Title IX requires a plaintiff to demonstrate that "(1)
she engaged in protected conduct; (2) she suffered a materially adverse . . . act;
and (3) the adverse act was causally linked to the [protected] conduct." Id.
(citing Bunch v. Univ. of Ark. Bd. of Trs., 863 F.3d 1062, 1069 (8th Cir. 2017)).
In sum, a Title IX retaliation claim must arise from "an intentional response
to the nature of the complaint: an allegation of sex discrimination." Id.
      It is undisputed that Doe engaged in a protected activity under Title IX
since both parties acknowledge that Doe reported sexual harassment in her
March 7 report to Strickman. See filing 13 at 9; filing 19 at 7. Additionally, Doe
alleges that she suffered a materially adverse act when Strickman failed to
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explore the foundation for her March 7 report, thereby allowing Roe to continue
to harass her. Filing 13 at 16; filing 22 at 17. However, Doe does not allege any
facts from which the Court could reasonably infer that Strickman intentionally
failed to investigate Doe's March 7 report because it was a sexual harassment
complaint.
       At most, Doe alleges, in a conclusory manner, that "Defendants’ adverse
actions against Plaintiff were in direct response to and were in retaliation for
the exercise of her rights under Title IX." Filing 13 at 16. And Doe argues that
Strickman's acts can be classified as retaliatory because Strickman had a "duty
to explore" the foundation of her report, but did not. Filing 22 at 17. But
alleging that Strickman failed to adequately respond to the complaint—while
it may establish that Strickman took an adverse action against Doe or that
Strickman acted with deliberate indifference—is not enough, on its own, to
support the inference that Strickman intentionally acted in an ineffective
manner in retaliation to Doe's report of sexual harassment.3
       The lack of any facts which would allow the Court to infer a retaliatory
causal connection is further evidenced by Doe's brief. Under Doe's heading
titled "but-for causal connection between the protected activity and the
materially adverse action," Doe only notes that Strickman's "failure to respond
was causally connected to Roe's further harassment of Plaintiff." Filing 22 at
17. But that misses the point. To state a Title IX retaliation claim, Doe must
allege facts showing that Strickman's adverse conduct of failing to investigate
was causally related to Doe's protected activity of filing a sexual harassment


3 The Court does question, however, whether failing to act on a complaint of discrimination


can, standing alone, form the basis for a retaliation claim—at that point, any actionable
discrimination claim would also include a purportedly separate retaliation claim.
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claim, not that Strickman's adverse conduct led to further harassment.
      Although Doe does not need to establish a prima facie case of retaliation
to survive a motion to dismiss, she must allege facts which support an inference
that the Board could be liable for retaliation above a speculative level. Since
Doe has not alleged facts from which the Court can reasonably infer that
Strickman's conduct was intentionally retaliatory, Doe's Title IX retaliation
claim against the Board is dismissed.


                          2. CONSTITUTIONAL CLAIMS
      Doe also brought multiple constitutional claims against the defendants
under 42 U.S.C. § 1983, but has agreed to dismiss these claims against the
defendant Regents. Filing 22 at 3. The defendants argue that Doe's remaining
constitutional claims—Doe's claims against Strickman in her individual
capacity for denial of due process and equal protection under the Fourteenth
Amendment—should be dismissed. The defendants argue, in part, that Doe
has failed to state a valid claim, and even if she has, Strickman is entitled to
qualified immunity.
      "The essential elements of a § 1983 claim are (1) that the defendant(s)
acted under color of state law, and (2) that the alleged wrongful conduct
deprived the plaintiff of a constitutionally protected federal right." Schmidt v.
City of Bella Villa, 557 F.3d 564, 571 (8th Cir. 2009) (citing DuBose v. Kelly,
187 F.3d 999, 1002 (8th Cir. 1999)). Since there is no dispute that Strickman
acted under the color of state law, the Court will evaluate whether Doe has
alleged sufficient facts to reasonably infer that Strickman's conduct violated
Doe's constitutional rights under the Fourteenth Amendment.



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                                 (a) Due Process
      The Fourteenth Amendment to the United States Constitution provides
that no state shall "deprive any person of life, liberty, or property, without due
process of law." U.S. Const. amend. XIV, § 2. The Due Process Clause "has two
components: the procedural due process and substantive due process
components." Singleton v. Cecil, 176 F.3d 419, 424 (8th Cir. 1999). When
reviewing either type of claim, the Court must first analyze the threshold
question of whether the defendant's conduct violated a protected life, liberty,
or property interest. Id.


                            (i) Substantive Due Process
      In her second amended complaint, Doe alleges, in part, that Strickman's
deliberate indifference violated her substantive due process rights by
subjecting her to Roe's sexual harassment and depriving her of her liberty
interest in bodily integrity. Filing 13 at 17. On multiple occasions, the Eighth
Circuit has stated that "[s]exual harassment by state actors violate[s] the
Fourteenth Amendment and establishes a section 1983 action." Cox v. Suggs,
484 F.3d 1062, 1066 (8th Cir. 2007). And although the Court in Cox noted that
some sexual harassment that is actionable under Title IX may not be a
constitutional tort under the substantive due process clause, it did not
elaborate on that distinction. Id. at 1068 n.1.
      Later, in Flaherty, the Eighth Circuit held that, "[i]n the context of a
§ 1983 claim of unconstitutional sexual abuse by a teacher at an institution
that receives Title IX funding . . . individual liability of a supervisory school
official should be measured 'by the standards of the institution's Title IX
liability established in Gebser.'" Doe v. Flaherty, 623 F.3d 577, 584 (8th Cir.
2010) (citing Gebser, 524 U.S. 274). Accordingly, to establish § 1983 liability, a
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plaintiff must show that the supervisory official with authority to address
sexual      misconduct       complaints   had    actual   notice    of   a   pattern    of
unconstitutional conduct, showed deliberate indifference to those acts, and
such failure proximately caused injury to the plaintiff. Id.
         The Court has already determined that Doe alleged sufficient facts, at
this stage, to reasonably infer Strickman had actual notice of a pattern of
sexual harassment by Roe, and that her deliberate indifference to the March 7
report resulted in Roe's continued sexual harassment of Doe. 4 As such, Doe has
stated a substantive due process claim.5
         Additionally, Strickman is not entitled to qualified immunity on this
claim. Qualified immunity shields public officials performing discretionary
functions from liability for conduct that does not violate clearly established
statutory or constitutional rights of which a reasonable person would have
known. Parker v. Chard, 777 F.3d 977, 979 (8th Cir. 2015); see Messerschmidt
v. Millender, 565 U.S. 535, 546 (2012); Pearson v. Callahan, 555 U.S. 223, 231
(2009). In determining whether a government official is entitled to qualified
immunity, the Court asks (1) whether the facts alleged establish a violation of



4 Since the Eighth Circuit has held that sexual harassment by a state actor may violate a


plaintiff's liberty interests under the Fourteenth Amendment, the Court need not decide, at
this time, whether Doe also had a protected property interest in continuing her education.
See filing 19 at 24; filing 22 at 21.

5   The defendants argue that Strickman's conduct did not rise to the level of conscience-
shocking. Filing 19 at 25. But where the deliberate indifference standard is used, a state
actor's deliberate indifference to unconstitutional conduct may satisfy the "shocks the
conscience" standard. See Flaherty, 623 F.3d at 584; Shrum ex rel. Kelly v. Kluck, 249 F.3d
773, 779 (8th Cir. 2001).
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a constitutional or statutory right and (2) whether that right was clearly
established at the time of the alleged violation, such that a reasonable official
would have known that his actions were unlawful. Johnson v. Phillips, 664
F.3d 232, 236 (8th Cir. 2011); see Parker, 777 F.3d at 980. For a right to be
clearly established, the contours of the right must be sufficiently clear that a
reasonable official would understand that what he is doing violates that right.
Parker, 777 F.3d at 980.
      It is clearly established that university students have a right not to be
discriminated against or harassed on the basis of sex. Crawford v. Davis, 109
F.3d 1281, 1284 (8th Cir. 1996). And it is also clearly established "that a
supervisory school official with actual notice of ongoing sexual abuse against a
student [is] required to take action to investigate and stop the abuse." Doe v.
Flaherty, 623 F.3d 577, 584-85 (8th Cir. 2010). Nor is there any factual novelty
in this case implicating the "fact-intensive" nature of the inquiry, see Davis v.
Hall, 375 F.3d 703, 712 (8th Cir. 2004)—this is, factually, a garden-variety case
of sexual harassment. Thus, based on the facts as alleged by Doe, Strickman
violated Doe's clearly established Fourteenth Amendment rights when, despite
her knowledge of Roe's previous harassment, she was deliberately indifferent
to Doe's March 7 report. Therefore, the defendants' motion to dismiss Doe's
substantive due process claim against Strickman for failure to state a claim is
denied.


                           (ii) Procedural Due Process
      Doe has also alleged that the Strickman violated her procedural Due
Process rights under the Fourteenth Amendment by failing to follow UNL
policies in response to her March 7 report. Filing 13 at 17. Specifically, she
alleges that Strickman did not initiate an investigation, follow the prescribed
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remedial measures, or notify her of her rights under UNL policy or state and
federal law. Filing 13 at 17. Unlike the substantive due process provision,
which "protects individual liberty against certain government action
regardless of the fairness of the procedures used," a procedural due process
claim requires a plaintiff to establish both "that [her] protected liberty or
property interest is at stake . . . . [and] that the defendant deprived [her] of
such interest without due process of law." Schmidt v. Des Moines Pub. Schs.,
655 F.3d 811, 816-17 (8th Cir. 2011). Having determined that Roe's continued
sexual harassment of Doe after her March 7 report deprived her of her liberty
interest in bodily autonomy—being free from sexual harassment by state
actors—the question is whether Strickman's conduct deprived her of this
interest without due process of law.
      "Due process is a flexible concept, requiring only such procedural
protections as the particular situation demands." Id. at 817 (citations omitted).
In deciding whether a plaintiff received due process, the Court must consider
whether he or she had the "opportunity to be heard at a meaningful time and
in a meaningful manner." Id. And when determining whether a university's
procedures are constitutionally adequate, the Court must "consider the
relevant governmental and private interests," including "the private interests
affected by official action, the risk of an erroneous deprivation through the
procedures used, the probable value of additional or substitute procedural
safeguards, and the government's interest, including the burdens that
additional safeguards would entail." Doe v. Univ. of Ark. – Fayetteville, 974
F.3d 858, 866 (8th Cir. 2020).
      Taking Doe's allegations as true, she was not given an opportunity to be
heard in a meaningful manner with regards to her March 7 report. In fact, Doe

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alleges that Strickman deprived her of the procedural safeguards UNL had in
place to investigate complaints of sexual harassment by failing open an OIEC
investigation, take any statements from Doe or Roe, or determine the merits
of Doe's claims. Filing 13 at 9. And by not investigating the claim in any
manner, as Doe alleges, the risk of erroneous deprivation of Doe's right to be
free from sexual harassment by a state actor was high. However, the use of
additional investigative procedures by UNL and the OIEC to protect Doe's
Fourteenth Amendment rights would not have placed any additional burden
on the institution since, according to Doe, UNL's policy at that time already
required the Title IX Coordinator to investigate sexual harassment complaints
and determine their merit within sixty days. Filing 22 at 22. Accordingly, Doe
has, at this stage, stated a procedural due process claim against Strickman in
her individual capacity.
      Next, the Court must determine whether Strickman is entitled to
qualified immunity. The critical question is whether a reasonable person in
Strickman's position would understand that failing to investigate a student's
claim of ongoing sexual harassment and violation of a no-contact order by a
professor would violate the student's procedural due process rights.
      As stated earlier, it is clearly established that supervisory school officials
with actual notice of ongoing sexual abuse against a student are required to
take action to investigate and stop the abuse, and failing to do so violates the
Fourteenth Amendment. Flaherty, 623 F.3d at 584-85. And while it may not be
clearly established exactly what procedures a university must follow when
investigating such claims, this precedent makes it clear to a reasonable person
in Strickman's position that failing to do any investigation into a complaint of
ongoing sexual harassment of a student by a professor, as alleged by Doe,

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would violate students' procedural rights under the Fourteenth Amendment.
As such, Strickman is not entitled to qualified immunity on this claim, and the
defendants' motion to dismiss Doe's procedural due process claim is denied at
this stage in the proceedings.


                              (b) Equal Protection
      Next, Doe alleges that Strickman's failure to investigate her sexual
harassment claims violated her rights under the Fourteenth Amendment
Equal Protection Clause. Filing 13 at 18-19. More specifically, she contends
that claims of sexual harassment and assault—which are more likely to involve
female victims—were treated differently than other complaints filed at UNL,
disparately subjecting female students to a hostile educational environment.
The defendants move to dismiss Doe's Fourteenth Amendment Equal
Protection claim, arguing that Doe has failed to plead facts showing that she
was treated differently than similarly situated students outside of her
protected class. Filing 19 at 25. The Court agrees.
      The Equal Protection Clause of the Fourteenth Amendment provides
that "[n]o state . . . shall . . . deny to any person within its jurisdiction the
equal protection of the laws." U.S. Const. amend. XIV, § 2. And as discussed
above, the Eighth Circuit has held that "[s]exual harassment by state actors
violate[s] the Fourteenth Amendment and establishes a section 1983 action."
Cox v. Sugg, 484 F.3d 1062, 1066 (8th Cir. 2007) (citations omitted). More
recently, however, the Eighth Circuit emphasized that such claims implicating
the Equal Protection Clause require proof of intentional discrimination, which
can be shown if a plaintiff demonstrates that he or she was treated differently
than similarly situated individuals outside of his or her protected class. Does
1-2 v. Regents of the Univ. of Minn., 999 F.3d 571, 580 (8th Cir. 2021). This
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requirement of intentional discrimination aligns with U.S. Supreme Court's
holdings that "disparate impact alone is insufficient to show an equal
protection violation; instead, proof of discriminatory intent or purpose is
required." United States v. Ronning, 6 F.4th 851, 853 (8th Cir. 2021).
      Doe has not pled any facts supporting the inference that she was treated
differently than similarly situated male complainants. In fact, Doe does not
allege that Strickman investigated her sexual harassment claim differently
than she did sexual harassment claims made by male students. Instead, she
alleges that UNL treated all complaints of sexual harassment and stalking
differently than other types of complaints, which in turn had a disparate
impact on female students. Filing 13 at 18. From this allegation, it can be
inferred that males reporting sexual harassment also received inadequate
responses from Strickman. And while this may prove disparate impact on
female students—taking as true that most complainants were female—that is
not enough to support an Equal Protection claim based on intentional gender
discrimination. Since Doe's allegations, at most, allow an inference of disparate
impact, the Court will grant the defendants' motion to dismiss Doe's Equal
Protection claim.


                    3. STATUTE OF LIMITATIONS & STANDING
      Finally, the defendants argue that Doe's Title IX and § 1983 claims are
barred by the statute of limitations to the extent that these claims rely on
actions or inactions that accrued prior to February 28, 2017. Filing 19 at 9, 17.
Additionally, the defendants argue that Doe cannot rely on any actions or
inactions that occurred after she left UNL to support her Title IX claims, since
she lacks standing to bring claims based on conduct that occurred when she
was no longer a student. Filing 19 at 11. Accordingly, the defendants ask the
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Court to dismiss or strike all claims based on events that accrued prior to
February 28, 2017 and after Doe left UNL in the summer of 2017.
      "Neither § 1983 nor Title IX contains its own statute of limitation."
Walker v. Barrett, 650 F.3d 1198, 1205 (8th Cir. 2011). Instead, the Supreme
Court has held that § 1983 claims are governed by the personal injury statute
of limitation of the state where the claim accrued, and the Eighth Circuit has
held that Title IX claims are governed by the same statute of limitation. Id. at
1205 (citing Wilson v. Garcia, 471 U.S. 261, 279-80 (1985); Egerdahl v. Hibbing
Cmty. Coll., 72 F.3d 615, 617-18 (8th Cir. 1995)). Under Nebraska law, a
personal injury action must be brought within four years from the date on
which the action accrued. Neb. Rev. Stat. § 25-207; Anthony K. v. Neb. Dep't of
Health and Human Servs., 855 N.W.2d 788, 799 (Neb. 2014). Claims accrue
when a plaintiff knows or should know of the injury which is the basis for the
action. See K.T., 865 F.3d at 1057; Haltom v. Parks, No. 8:15-cv-428, 2018 WL
1033490, at * 6 (D. Neb. Feb. 21, 2018).
      Although damages are only available with respect to events that
occurred within the limitations period, Kline v. City of Kan. City, 175 F.3d 660,
665 (8th Cir. 1999), "[i]ncidents which occurred outside the filing
period . . . may be admissible as relevant background to later discriminatory
acts," Kimzey v. Wal-Mart Stores, 107 F.3d 568, 573 (8th Cir. 1997) (citation
omitted). And for the purposes of this motion, it is critical to remember that
the statute of limitations defense is "an affirmative defense, which the
defendant must plead and prove." Walker, 650 F.3d at 1203 (citing Jessie v.
Potter, 516 F.3d 709, 713 n.2 (8th Cir. 2008)). Thus, even if a statute of
limitations defense exists, this defense "is not ordinarily a ground for Rule



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12(b)(6) dismissal unless the complaint itself establishes the defense." Joyce v.
Teasdale, 635 F.3d 364, 367 (8th Cir. 2011) (citing Jessie, 516 F.3d at 713 n.2)).
      Here, Doe filed her original complaint on February 28, 2021. As such, for
the defendants to prevail on their 12(b)(6) motion on statute of limitations
grounds, the complaint must establish that all Doe's claims accrued prior to
February 28, 2017. That is not the case. As outlined above, Doe has stated a
Title IX deliberate indifference claim which accrued after February 28, 2017.
Specifically, Doe alleged that Strickman was deliberately indifferent when
responding to her March 7, 2017 report of Roe's sexual harassment. This claim
accrued on or after March 7, 2017, when Doe learned that Strickman's actions,
despite her actual knowledge of Roe's past conduct, were inadequate to address
his ongoing sexual harassment. As such, the Court will not dismiss Doe's Title
IX deliberate indifference claim on statute of limitations grounds. Likewise,
the Court determined that Doe alleged sufficient facts to infer that
Strickman's response to Doe's March 7 report may have violated Doe's due
process rights under the Fourteenth Amendment; therefore, the Court will
deny the defendants' request to dismiss Doe's § 1983 claims on statute of
limitations grounds.
      As for the defendants' actions that occurred prior to February 28, 2017,
Doe argues, for the first time in her brief, that liability based on these actions
is not time barred because all of the defendants' conduct—starting from its
response to her original complaint in June 2021 and including its response to
her March 7, 2017 report—are part of a continuing violation. Filing 22 at 5.
However, this is wholly inconsistent with her complaint, which clearly alleges
that the defendants' deliberate indifference to Roe's conduct began "after" her
March 7 report. Filing 13 at 13. But even assuming Doe did allege a continuing

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violation in her complaint, the Court is aware of no binding authority—nor has
Doe provided any such authority—applying the continuing tort doctrine to
Title IX or § 1983 claims based on sexual harassment. The Court is not
inclined, nor required, to apply the theory to Doe's claims based on allegations
raised for the first time in her brief. Thus, the defendants' conduct occurring
prior to February 28, 2017, is time-barred and may not be used as the basis for
defendants' liability.
      Still, the Court will deny the defendants' request to strike factual
allegations about conduct that occurred prior to February 28, 2017, as it may
be admissible as relevant background to later discriminatory acts, including
the defendants' actual knowledge at the time of their alleged violations.
      Lastly, since the Court has determined that Doe sufficiently stated a
Title IX deliberate indifference claim based on Strickman's response to Doe's
March 7 report, it will only briefly address defendants' argument that Doe
lacks standing to base this claim, in any part, on the defendants' conduct
occurring after she left UNL in the summer of 2017. Filing 19 at 11-12. To
support this argument, the defendants point to multiple cases where courts
have held that a student's parents or students who were never enrolled in the
university lacked standing to bring Title IX claims for incidents that occurred
on campus. See filing 19 at 11-12. However, those cases are not applicable to
determining standing in the instant case.
      And while the Eighth Circuit has held it "is an adequate basis to dismiss
an individual Title IX claim for injunctive relief" if the plaintiff is no longer a
student, see Podrebarac v. Minot State Univ., 835 Fed. Appx. 163 (8th Cir.
2020); Grandson v. Univ. of Minn., 272 F.3d 568, 574 (8th Cir. 2001), where
there is a Title IX damages claim, the critical question in determining standing

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is whether the defendants' actions "exclude, deny, or subject the person to
discrimination under an education program or activity," Rossley v. Drake
Univ., 958 F.3d 679, 684 (8th Cir. 2020). Therefore, since Doe is requesting
money damages, filing 13 at 20-21, the critical question is whether the
defendants' conduct continued to exclude or deny her access to an educational
program even after she transferred.
      At this early stage, Doe has alleged that she left UNL only because the
defendants failed to adequately protect her from Roe's ongoing harassment.
Filing 13 at 10. Because of this, she was unable to finish her PhD program, and
allegedly had to start her degree over entirely at another university. Filing 13
at 10. Yet even after she left, Doe alleges that Roe continued to violate the no-
contact directive, and Strickman failed to act on her reports of these violations.
Taking these facts as true, as is required, the Court can infer that the
defendants' actions deprived Doe of access to an educational program and
prevented her from retuning to finish a degree for which she had already
acquired substantial credit.
      Therefore, although the Court has found that Doe stated a Title IX
deliberate indifference claim without considering the defendants' actions that
occurred after Doe left UNL, the Court will not find, at this early stage, that
Doe lacks standing to support her claim with this conduct. But it is another
matter entirely whether these actions could adequately support a Title IX
claim.


      IT IS ORDERED:


      1.    The defendants' motion to dismiss (filing 18) is granted in
            part, and in part denied.
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     2.    The plaintiff's Title IX retaliation claim is dismissed.


     3.    The plaintiff's § 1983 claims against the defendant Board of
           Regents are dismissed as agreed by the plaintiff.


     4.    The plaintiff's § 1983 claim against Strickman with respect
           to alleged violations of the Fourteenth Amendment Equal
           Protection Clause is dismissed.


     Dated this 5th day of January, 2022.



                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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